         Case 21-03000-sgj Doc 64 Filed 02/10/21              Entered 02/10/21 09:38:33           Page 1 of 4




The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 9, 2021
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     In re:                                                       §
                                                                  §   Chapter 11

     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                                  §   Case No. 19-34054-sgj11
                                                                  §
                                      Debtor.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  §   Adversary Proceeding No.
                                      Plaintiff,
                                                                  §
                                                                  §   21-03000-sgj
     vs.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT FUND
     ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                     §
                                                                  §
     HIGHLAND INCOME FUND, NEXPOINT
                                                                  §
     STRATEGIC OPPORTUNITIES FUND,
                                                                  §
     NEXPOINT CAPITAL, INC., AND CLO
     HOLDCO, LTD,                                                 §
                            Defendants.                           §
          AGREED ORDER EXTENDING TEMPORARY RESTRAINING ORDER

     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


     DOCS_NY:42248.2 36027/002
    Case 21-03000-sgj Doc 64 Filed 02/10/21                Entered 02/10/21 09:38:33             Page 2 of 4



         On January 13, 2021, the Court entered its Agreed Order Granting Debtor’s Motion for a

Temporary Restraining Order against Certain Entities Owned and/or Controlled by Mr. James

Dondero [Docket No. 20] (the “TRO”) at the request of Highland Capital Management, L.P. (the

“Plaintiff”). Capitalized terms used in this Order shall have the meanings ascribed to them in the

TRO. 1

         By the signatures of their respective counsel below, the Plaintiff and the Defendants have

agreed to the entry of this Order extending the term of the TRO. Finding such agreement to be

lawful and appropriate, it is hereby:

         ORDERED that paragraph 4 of the TRO is deemed deleted and replaced in its entirety

with the following new paragraph 4: “This Order shall remain in effect until the earlier of: (a)

the entry by this Court of an order on Debtor’s motion for a preliminary injunction, the hearing

on which has been continued to February 17, 2021; and (b) February 24, 2021 (the earlier of the

two foregoing dates, the “TRO Termination Date”); and it is further

         ORDERED that all other provisions of the TRO shall remain in effect until the TRO

Termination Date.

                                         ### END OF ORDER ###




2
 A sixth defendant, CLO Holdco, Ltd., reached an agreement with the Plaintiff that resolved all issues between that
defendant and the Plaintiff raised in this Adversary Proceeding. Accordingly, that defendant is not subject to this
Order.


DOCS_NY:42248.2 36027/002
 Case 21-03000-sgj Doc 64 Filed 02/10/21        Entered 02/10/21 09:38:33   Page 3 of 4



AGREED AS TO FORM AND SUBSTANCE:

PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No. 143717)
Ira D. Kharasch (CA Bar No. 109084)
John A. Morris (NY Bar No. 266326)
Gregory V. Demo (NY Bar No. 5371992)
Hayley R. Winograd (NY Bar No. 5612569)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760
Email: jpomerantz@pszjlaw.com
        ikharasch@pszjlaw.com
        jmorris@pszjlaw.com
        gdemo@pszjlaw.com
        hwinograd@pszjlaw.com

-and-


HAYWARD PLLC
/s/ Zachery Z. Annable
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110
Counsel for Highland Capital Management, L.P.

-and-




                                            2
DOCS_NY:42248.2 36027/002
  Case 21-03000-sgj Doc 64 Filed 02/10/21        Entered 02/10/21 09:38:33    Page 4 of 4



MUNSCH HARDT KOPF & HARR, P.C.

/s/ Davor Rukavina
Davor Rukavina, Esq.
Texas Bar No. 24030781
Julian P. Vasek, Esq.
Texas Bar No. 24070790
3800 Ross Tower
500 N. Akard Street
Dallas, Texas 75202-2790
Telephone: (214) 855-7500
Facsimile: (214) 978-4375

Counsel for Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc.




                                             3
DOCS_NY:42248.2 36027/002
4810-9864-7003v.1 019717.00001
